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                   EXHIBIT B
        Case 2:23-cv-11634-NGE-APP ECF No. 14-3, PageID.85 Filed 08/01/23 Page 2 of 2




From:                Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>
Sent:                Tuesday, July 25, 2023 3:17 PM
To:                  Adrienne Dresevic; Deborah Gordon
Cc:                  Sarah Gordon Thomas; Molly Savage; Clinton Mikel; Jonathan Messina
Subject:             RE: Pensler et al /Request for extension
Attachments:         11 - First Amended Complaint and Jury Demand 7-19-23.pdf



   You don't often get email from emt@deborahgordonlaw.com. Learn why this is important
Adrienne,
Plaintiff’s Amended Complaint is attached. We will agree to a one-week extension of Defendants’ time to respond.

Regards,


                   Elizabeth M arzotto Taylor|Attorney & C ounselor|
                   D EB O R A H G O R D O N LA W
                   |phone: (248)258-2500
                   |fax: (248)258-7881
                   |w ebsite:ww w .deborahgordonlaw .com




From: Adrienne Dresevic <ADresevic@thehlp.com>
Sent: Tuesday, July 25, 2023 3:02 PM
To: Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Sarah Gordon Thomas
<sthomas@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Adrienne Dresevic
<ADresevic@thehlp.com>; Clinton Mikel <CMikel@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Subject: Pensler et al /Request for extension

Deborah,

Good a ernoon. We have been retained by Elizabeth A. Pensler, D.O., PLLC (d/b/a “Pensler Vein and Vascular”, “Pensler
Vein and Vascular Surgical Ins tute”, and “Elizabeth Face + Body Med Spa”), Elizabeth Pensler, D.O., Elizabeth Med a,
PLLC, Derek Hill, D.O. and Derek L. Hill, D.O., PLLC (d/b/a “Hill Orthopedics”) in connec on with the recent civil complaint
filed by Julia Zimmerman in the District Court for the Eastern District of Michigan under Case No. 2:23‐cv‐11634‐NGE‐
APP. According to the Docket, a response is due for certain Defendants on August 7, 2023, and others on August 8,
2023.

We are assessing the Complaint and our op ons. We respec ully request a 45‐day extension of me for all defendants
to respond to the Complaint. As such, our adjourned response would be due on September 22, 2023 (i.e., 45 days). We
would of course grant the same courtesy by providing a reasonable amount of me to respond.

Please consider this email as our good faith eﬀort to meet‐and‐confer on the requested extension pursuant to Local Rule
7.1(a) to determine if the extension will be opposed.

                                                              1
